     Case 4:16-cv-00591 Document 89-1 Filed on 11/01/19 in TXSD Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHISN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DANYAL SHAIKH,                             §
    Plaintiff,                             §
                                           §
v.                                         §   Civil Action No. 4:16-CV-00591
                                           §
TEXAS A&M UNIVERSITY                       §
COLLEGE OF MEDICINE et al .,               §
    Defendants.                            §


                                     ORDER
       Before the Court is Defendant Texas A&M University College of Medicine’s

(“TAMU”) Unopposed Motion to Continue Hearing.

       Having read and considered this unopposed motion, the Court GRANTS it.

       It is hereby ORDERED that the hearing currently scheduled for November 15,

2019 shall be continued to _______________________, 2019 at __________.



Signed on _______________________, 2019.




                                               __________________________________
                                               UNITED STATES DISTRICT JUDGE
                                               LYNN N. HUGHES




Order re TAMU’s Motion to Continue Hearing
No. 4:16-CV-00591
